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                           IN THE UNITED STATES DISTRICT COURT                                 AT LTjUOE
                              FOR THE DISTRICT OF MARYLAND                               EAEPACIAR. GSSTFICT COURT
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 UNITED STATES OF AMERICA

         jr.                                                 CRIMINATNO.         Ne3- le\ - 04131
 CARMINE VIGNOLA,                                            (False Declarations Before a Grand
                                                             Jury, 18 U.S.C. § 1623(a))
                    Defendant.



                                                   ******

                                            INFORMATION

         The United States Attorney for the District of Maryland charges that:

                                            COUNT ONE
                               (False Declarations Before a Grand Jury)

                                               Introduction

     I. The Baltimore Police Department ("BPD") is an agency of the State of Maryland whose

         law enforcement jurisdiction includes Maryland's largest city, Baltimore.

    2. Sworn members of the BPD must abide by the Law Enforcement Officer's Code of

         Ethics, which provides, in pertinent part:

                   As a Law Enforcement Officer, my fundamental duty is to serve the
                   community; to safeguard lives and property; to protect the innocent
                   against deception, the weak against oppression or intimidation; the
                   peaceful against violence or disorder; and to respect the
                   constitutional rights of all to liberty, equality and justice. Honest in
                   thought and deed both in my personal and official life, I will be
                   exemplary in obeying the law and the regulations of my department
                   ... I recognize the badge of my office as a symbol of public faith
                   and I accept it as a public trust to be held so long as I am true to the
                   ethics of police service.
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CARMINE VIGNOLA ('VIGNOLA") joined the BPD on September 4, 2007, and

became a police officer on July 25, 2008. VIGNOLA was promoted to Detective on

March 20, 2014.

In March 2014, VIGNOLA sewed on a Special Enforcement Section (SES) unit assigned

to BPD's Western District. Officer 1 was VIGNOLA's partner in the SES unit.

Sergeant K.G. was the officer-in-charge of the SES unit.


                          March 26, 2014, Gun Planting


On the evening of March 26,2014, VIGNOLA, who was on duty, was having dinner

with K.G. at a restaurant in Baltimore. K.G. received a call on his cell phone from

Detective W.J.

W.J. had just deliberately run over an arrestee, D.S., in the front yard of a home in

Northeast Baltimore.

K.G. asked VIGNOLA if he had a BB gun. VIGNOLA told him he did not. K.G. asked

VIGNOLA to call Officer 1, VIGNOLA's partner, to ask him if he had a BB gun.

VIGNOLA then called Officer 1, who was not working that day, and learned that he had

a BB gun at his home.

K.G. and VIGNOLA then drove to Officer l's home and retrieved the BB gun.

VIGNOLA understood that K.G. retrieved the BB gun so that K.G. could plant it at the

scene of D.S.'s arrest in 'an attempt to justify W.J. running D.S. over.

KG. and VIGNOLA then drove to the site of D.S.'s arrest on Anntana Avenue and Bel

Air Road in Northeast Baltimore City.




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   Once there, K.G. exited the vehicle and headed toward the scene of the accident.

   VIGNOLA exited the vehicle but remained near it. K.G. subsequently returned to the

   car, without the BB gun, and he and VIGNOLA left the scene.

   D.S. was taken from the scene to the hospital, in custody, where drugs were recovered

   from him. He was then taken from the hospital to BPD's Central Booking where he was

   charged. Those charges included possession, use and discharge of a gas or pellet gun, for

   the BB gun that K.G. planted at the scene of D.S.'s arrest, and a number of drug offenses.

   D.S. was detained on those charges until at least April 2, 2014.

   The charges against D.S. arising out of his arrest on March 26, 2014, were disposed of by

   nolle prosequi, which is a form of dismissal, on January 16, 2015.



       March 1,2017, Arrests of the Members of the Gun Trace Task Force

   On March 1, 2017, W.J. and six other officers who had been members of the BPD's Gun

   Trace Task Force ("GTTF") were arrested on federal racketeering charges. Thereafter, it

   became public that multiple GTTF defendants were cooperating and providing

   information to the United States in an ongoing investigation.


                      January 2018 Meeting at the YMCA Pool

17.1n January 2018, VIGNOLA and K.G. arranged to meet in person. In order to avoid

   detection, they arranged the meeting using their wives' cell phones.

18. VIGNOLA went to the YMCA near K.G.'s home in Pennsylvania. K.G. had arranged to

   meet in the swimming pool to ensure that VIGNOLA did not have a recording device on

   him Once K.G. and VIGNOLA were in the swimming pool, VIGNOLA asked KG.

   words to the effect of, "do you have anything to worry about now, you know, since

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[WI] was arrested, do you have any concerns?" K.G. responded that the only thing he

was worried about was the incident on "Bel Air Road," which was a reference to the

arrest of D.S. K.G. told VIGNOLA that if he was brought in for questioning by federal

law enforcement or prosecutors who had investigated the GTTF, that VIGNOLA should

tell them that he, VIGNOLA, was not there, which they both knew was not true. When

VIGNOLA said he had been seen by another officer at the scene, K.G. told him to say

that they were there for "scene assessment" or words to that effect, which was also not

true because they did not provide any "scene assessment." VIGNOLA then asked K.G.,

"what about [Officer l]," referring to the fact that Officer I knew they had obtained the

gun from him. K.G. then told VIGNOLA to tell law enforcement that he, K.G., had

taken the gun from his, K.G.'s, trunk, which was also not true, since K.G. and VIGNOLA

had obtained the gun from Officer I.



             February 13,2019. Appearance Before the Grand Jury

On February 13, 2019, VIGNOLA testified before a federal Grand Jury sitting in

Baltimore that was investigating allegations that the BB gun recovered at the scene of

D.S.'s arrest had been planted there by law enforcement. VIGNOLA had previously

testified under oath during his career as a police officer on numerous occasions.

VIGNOLA was duly sworn by the Foreperson of the Grand Jury before he was asked any

questions.

VIGNOLA was then given the following advisements, asked the following questions by

the prosecutor and gave the following answers:




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       Q. Detective Vignola, you've been subpoenaed to testify before a
       special federal grand jury that's investigating allegations of
       violations of federal criminal law. Do you understand that?

       A. I do.

       Q. You've just been given an oath by the foreperson and have
       promised to testify truthfully. Do you understand that?

       A. I do.

       Q. If you should lie or knowingly withhold information, you
       could be charged with the crimes of perjury or making a false
       statement, and if convicted be imprisoned. Do you understand
       that?

       A. I do.

       Q. You have the right to be represented by counsel in these
       proceedings, although your counsel cannot come with you into the
       grand jury room. I understand you have counsel with you here
       today who is outside the grand jury; is that correct?

       A. Yes.

       Q. If at any time you want to stop and consult with your counsel,
       you can do that. You just have to let me know that that's
       something you'd like to do, okay?

       A. Yes.

VIGNOLA was then asked a series of questions by the prosecutor about the events of

March 26, 2014.

At the end of his testimony, VIGNOLA was given the following admonishment by the

prosecutor:

       [PROSECUTOR]. Any other questions for Detective Vignola?



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       Seeing none, sir, after today if you realize anything you've said is
       incorrect or incomplete, you could be given the chance to come
       back and correct the record or add to it, but you have to
       communicate that to your attorney, [], who will then communicate
       it to myself or [another prosecutor], and we will schedule another
       appearance before the grand jury for you. Do you understand that?

       WITNESS. Yes.

Thereafter, at no time did VIGNOLA ask to return to the Grand Jury.


                                   The Charge

On or about February 13, 2019, in the District of Maryland, the defendant,

                             CARMINE VIGNOLA,

while under oath and testifying in a proceeding before a Grand Jury of the United States

in the District of Maryland, knowingly did make a false material declaration, that is to

say: VIGNOLA testified that he called his partner, Officer 1, and asked him if had a BB

gun and that Officer 1 said he did not; VIGNOLA further testified that he and K.G. went

directly from the restaurant where they were eating to the scene of D.S.'s arrest;

VIGNOLA further testified that he saw K.G. go to the trunk of his car after VIGNOLA

told K.G. that Officer 1 did not have a BB gun.

At the time and place aforesaid the Grand Jury was conducting an investigation to

determine whether violations of Title 18, United States Code, Sections 371, 1512(b)(3)

and 1519 had been committed, and to identify the persons who had committed, caused

the commission of, and conspired to commit such violations. Specifically, the Grand Jury

was investigating whether a BB gun had been planted at the scene of D.S.'s arrest on

March 26, 2014. It was material to said investigation that the Grand Jury ascertain if a



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   BB gun had been obtained by KG., VIGNOLA, Officer 1 or anyone else who was at the

   scene of D.S.'s arrest on March 26, 2014.

27. At the time and place alleged, VIGNOLA, appearing as a witness under oath at a

   proceeding before the Grand Jury, knowingly made the following declarations in

   response to questions with respect to the material matter alleged above as follows:

          A. [Sergeant K.G.]-- he wanted me to ask [Officer 1] if he had a
          BB gun.

          Q. All right. Did you do that?

          A. I did.

          Q. And did you get your partner, [Officer 11, on the phone?

          A. I did.

          Q. And what happened?

          A. He said, no.

          Q. Okay.

          A. At that -- would you like me to --

          Q. And then what happened -- yeah.

          A. At that time--

          Q. Did you call him from the restaurant? Are you still in the
          restaurant?

          A. Yes, still in the restaurant.

          Q. Okay.

          A. At that time, K.G. gets up, walks out of the restaurant —


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    Q. This is for the second time?

    A. For the second time.

    Q. Okay. And where does he go?

    A. He goes across the street where our vehicle, that we were
    driving that evening, is parked. I see him open the trunk, then I see
    him close the trunk. He comes back inside the restaurant and tells
    me we have to go.

    Q. Did you see him do something in the trunk, or what could you
    see in terms of, from your vantage point, was going at the trunk?

    A. So it was dark that evening and I believe he was wearing a
    dark coat. I couldn't see him enter the trunk, but I saw him walk
    over to the trunk, open it and then close it.

    Q. Okay. Did he lean into it? Did you see anything like that?

    A. No, I did not see him lean into it.

    Q. You testified he came back and said you had to go; is that
    right?

    A. Yes.

    Q. All right. And then what happened?

    A. So then we leave the restaurant. He starts driving at a high
    rate of speed. He tells me that [WI] had just hit somebody with a
    vehicle.

    Q. Where are you going?

    A. He told me [WI] hit somebody with a vehicle off of Belair
    Road.

    Q. All right. And is that where you're headed now?



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          A. Yes. I believe we were heading up Belair Road at the time.

          Q. You said at a high speed?

          A. Yes.

          Q. Now, you testified that he had previously asked you if you had
          a BB gun, and then asked you to call [Officer 1] to see if he had a
          BB gun, correct?

          A. Yes.

          Q. In the car, what did you think was happening, I guess, at the
          latest after he told you that [W.J.] had hit someone and you're now
          driving at high speeds to the scene?

          A. Well, prior to that I was confused about the situation. When
          he told me that [W.I.] had hit somebody with the vehicle, I was, at
          that point, under suspicion that he was looking for a BB gun to
          plant as evidence.

          Q. Where?

          A. In the crime scene on the person. I wasn't sure at that time.

          Q. Did you believe that's why you were heading there at high
          speed so that he could do that?

          A. Yes.

          Q. So what happened next?

          A. At that point, we arrived at the crime scene. We get out of the
          vehicle —

28. Later, VIGNOLA was asked the following series of questions by a member of the Grand

   Jury and gave the following answers:

          GRAND JUROR. From the time that you were asked to call your
          partner for the BB gun, till when you guys left the restaurant to go

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    up to the scene, do you recall what that time frame was, how much
    time passed?

    WITNESS. No. I can't give you a specific time frame. That was
    -- like I said, that was 5 years ago. We were going at a fast rate of
    speed on the way up there.

    GRAND JUROR. Was it a relatively short period of time that he
    asked you about the BB gun and then said, all right, we got to go?
    You said he stepped out again.

    WITNESS. Yeah. Yeah, so that was -- it might have been within
    the span of, this is a guesstimate, maybe 2, 3 minutes, like, the
    whole thing unfurling, and then him telling me we have to go.

    GRAND JUROR. So you didn't finish your meal. It was, do you
    know anybody with a toy BB gun, call your partner, he steps out,
    comes back in, all right, we've got to go?

    WITNESS. Yes.

    GRAND JUROR. Were you and your partner close?

    WITNESS. Yes.

    GRAND JUROR. Were you and your sergeant close, too?

    WITNESS. Yes.

    GRAND JUROR. So it wasn't weird for -- did you feel weird that
    he asked you that question?

    WITNESS. Yeah. So when he first asked me for a BB gun, I was
    under the assumption -- he asked me if I owned a BB gun. I said,
    no. If I personally had a BB gun. I said, no, and then he asked me
    to call my partner, Rob, which was, you know, I thought very
    unusual.

    GRAND JUROR. But you still called him and asked him if he
    had it?


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              WITNESS. Yes. I was ordered by my sergeant to give my
              partner a call.


   29. The aforesaid underscored testimony of VIGNOLA, as he then and there well knew and

       believed, was false in that, when VIGNOLA called Officer 1 and asked Officer 1 if he

      had a BB gun, Officer 1 responded that he did and VIGNOLA and Sergeant K.G. then

       went to Officer l's home and obtained the BB gun before driving to the scene of D.S.'s

      arrest on Bel Air Road.

18 U.S.C. 1623.




Date: September I° , 2019                    Rerorix.
                                           Robert K. Hur
                                           United States Attorney




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